






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00432-CV






In re Complete Books &amp; Media Supply, Inc.






ORIGINAL PROCEEDING FROM TRAVIS COUNTY





M E M O R A N D U M   O P I N I O N


	Relator Complete Books &amp; Media Supply, Inc. has filed a petition for writ of
mandamus complaining of the trial court's denial of its motion to show authority.  See Tex. R.
App.&nbsp;P. 52.8.  Because the rule 12 motion pending before the trial court was brought against
attorneys Daniel Ross and Kell Simon and did not mention John Melton, who appeared and testified
that he represented real party in interest One Stop Procurement Services, Inc. and had been hired by
Robert Tijerina, who he "believed" to be One Stop's president, we cannot hold that the trial court
abused its discretion in denying the motion. (1)  We deny the petition for writ of mandamus.


					__________________________________________

					David Puryear, Justice

Before Chief Justice Law, Justices Puryear and Waldrop

Filed:   July 31, 2008
1.   We express no opinion as to whether the evidence presented by John Melton about his
authority to represent One Stop Procurement Services, Inc. would be sufficient in the face of a
motion to show Melton's authority.


